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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )
                                                    )
            v.                                      )     Case No. 4-14-cr-00031-TWP-VTW
                                                    )
 CARLOS ENRIQUE FREIRE-PIFFERRER,                   )       01
 JUAN PEREZ-GONZALEZ,                               )       02
 EDUARDO HERNANDEZ,                                 )       03
 MARIO HERNANDEZ-OQUENDO,                           )       04
 YOEL PALENZUELA-MENDEZ                             )       05
 ORLIS MACHADO-CANTILLO,                            )       06
 MIGUEL MOMPIE,                                     )       07
 RITZY ROBERT-MONTANER,                             )       08
 ROBERTO SANTOS-GONZALEZ, and                       )       09
 CARLOS MENDEZ-ROSA,                                )       10
                                                    )
        Defendants.                                 )

             SPECIFIC FINDINGS ON ORDER GRANTING CONTINUANCE

        On September 9, 2015 this matter was before the Court on Defendant Miguel Mompie’s

 (“Mr. Mompie”) Unopposed Motion for Continuance of the September 28, 2015 trial date (Filing

 No. 218). The Government and eight of the Co-Defendants had no objection to Mr. Mompie’s

 request for continuance. Attorney Brendon J. McLeod, on behalf of Defendant Carlos Enrique

 Freire-Pifferrer objected to a continuance. The Court, having considered the motion and argument

 of counsel, found that the ends of justice are served by the continuation of the trial date and

 GRANTED the Motion for Continuance (Filing No. 265).

        In determining whether the ends of justice are served by the continuation of a trial date

 outweigh the best interests of the public and a Defendant to a speedy trial, the Court must make

 specific findings as required by 18 U.S.C. § 3161(h)(7)(A). Zedner v. United States, 547 U.S.

 489, 508-09 (2006) (“This provision demands on-the-record findings and specifies in some detail
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 certain factors that a judge must consider in making those findings.”).

                                      SPECIFIC FINDINGS

        In this case, ten defendants have been charged as co-conspirators in a twenty-three count

 Second Superseding Indictment returned on July 29, 2015. All of the Defendants are alleged to

 have conspired to defraud the United States through the possession and shipment of goods valued

 in excess of $1,000.00 stolen in interstate shipments. Defendant Carlos Mendez-Rosa has not yet

 been apprehended. Mr. Mompie requested a continuance of the trial date because the electronic

 and printed discovery materials received thus far is voluminous and counsel needs an opportunity

 to review these materials with his client in advance of any final pretrial conference and/or trial.

 Further, additional discovery is outstanding and because the Government has chosen to try these

 defendants in a single case, the allegations made against and between each defendant must be

 individually analyzed and understood. Only one Defendant, Carlos Enrique Freire-Pifferrer, has

 raised an objection to a continuance of the September 28, 2015 trial date. Mr. Freire-Pifferrer

 asserts that he believes the Government has delayed the distribution of discovery and states that

 he “objects for the record”.

        The Government reports that it is working diligently to prepare the discovery materials in

 this case which includes an on-going project to translate and transcribe numerous recordings made

 in Spanish, during the course of their investigation. The Court accepts the Government’s assertion

 of diligence.

        The Court has previously declared this case to be complex (Filing No. 232). The Speedy

 Trial Act provides that the Court may grant an “ends of justice” continuance when

        the case is so unusual or so complex, due to the number of defendants, the nature
        of the prosecution, or the existence of novel questions of fact or law, that it is

                                                  2
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        unreasonable to expect adequate preparation for pretrial proceedings or for the trial
        itself within the time limits established by this section.

 18 U.S.C. § 3161(h)(7)(B)(ii).

        The Court finds that the Government’s request for additional time to translate and prepare

 discovery and Mr. Mompie’s and the other Co-Defendants’ request to receive and review

 discovery is reasonable given the number of defendants charged and the nature of the prosecution

 and the complexity of the case. The Defendants are jointly charged and no motion for severance

 has been filed or granted. The Court finds that a reasonable period of delay in the September 28,

 2015 trial date is both warranted and excludable from the speedy trial clock, and the risk of

 prejudice arising from such reasonable delay is outweighed by the economics of a single trial in

 which all facets of the crime, as to all indicted co-defendants, can be explored once and for all.

 18 U.S.C. § 3161(h)(6); United States v. Alviar, 573 F.3d 526, 539 (7th Cir. 2009) (quoting Zafiro

 v. United States, 506 U.S. 534, 537 (1993) (quoting Richardson v. Marsh, 481 U.S. 200, 209-10

 (1987)) (internal citations omitted). Further, “an excludable delay of one defendant may be

 excludable as to all co-defendants, absent severance.” United States v. Rollins, 544 F.3d 820, 829

 (7th Cir. 208). Accordingly, over the objection of Defendant Freire-Pifferrer, the Motion for

 Continuance was granted. (Filing No. 265).

        It is therefore, ORDERED that the trial as to Defendants Carlos Enrique Friere-Pifferrer,

 Juan Perez-Gonzalez, Eduardo Hernandez, Mario Hernandez-Oquendo, Yoel Palenzuela-Mendez,

 Orlis Machado-Cantillo, Miguel Mompie, Ritzy Robert-Montaner, and Roberto Santos-Gonzalez

 is RESCHEDULED for MONDAY, MARCH 7, 2016. The delay resulting from the resetting

 of the trial date is hereby excluded from the period in which the Defendants must be brought to

 trial under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(c)(1) and 3161(h)(6) and (7) because

                                                 3
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 the ends of justice will be served by such action and outweigh the best interests of the public and

 the Defendants in a speedy trial.

        It is further, ORDERED that the time from September 28, 2015 to the new trial setting be

 excluded for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) and 18 U.S.C. §

 3161(c)(1).


        SO ORDERED.


 Date: 9/15/2015


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